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 8   Counsel for Defendants
     Robert Bosch GmbH
 9   Robert Bosch LLC

10

11

12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA
14
      IN RE: VOLKSWAGEN “CLEAN DIESEL”         MDL DOCKET NO. 2672 CRB (JSC)
15    MARKETING, SALES PRACTICES AND
      PRODUCT LIABILITY LITIGATION
16
17
     This Document Relates to:                 STIPULATION AND [PROPOSED]
18                                             ORDER REGARDING MOTION OF
     ALL VOLKSWAGEN-BRANDED FRANCHISE
                                               DEFENDANTS ROBERT BOSCH
19   DEALER ACTIONS
                                               GMBH AND ROBERT BOSCH LLC
                                               FOR RELIEF UNDER PRETRIAL
20                                             ORDER NO. 12
21                                             The Honorable Charles R. Breyer
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     STIPULATION AND [PROPOSED] ORDER REGARDING MOTION OF DEFENDANTS ROBERT BOSCH GMBH
                  AND ROBERT BOSCH LLC FOR RELIEF UNDER PRETRIAL ORDER NO. 12
                                  MDL DOCKET NO. 2672 CRB (JSC)
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 1          In accordance with Civil Local Rule 6-2 and 7-12, Defendants Robert Bosch GmbH and
 2   Robert Bosch LLC (the “Bosch Defendants”) and Hagens Berman Sobol Shapiro LLP (“plaintiffs’
 3   counsel”) (collectively, the “Parties”), through their undersigned counsel, hereby agree and stipulate
 4   to the following:
 5          WHEREAS, on February 3, 2017, the Bosch Defendants filed a Motion for Relief Under
 6   Pretrial Order No. 12 against Hagens Berman Sobol Shapiro LLP (the “Motion”) (ECF No. 2861);
 7          WHEREAS, plaintiffs’ counsel filed their response to the Motion on February 17, and the
 8   Motion is currently docketed for hearing on March 17, 2017;
 9          WHEREAS, the court in In re Mercedes-Benz Emissions Litigation, No. 2:16-cv-881-JLL-
10   JAD (D.N.J.) (“Mercedes-Benz”) has effectively stayed further proceedings in that case until the
11   Motion is resolved;
12          WHEREAS, the Parties hope to obviate the need for further briefing, hearing, and decision of
13   the Motion through the steps contemplated by this Stipulation;
14          WHEREAS, plaintiffs’ counsel desires to advance Mercedes-Benz, and the Parties agree that
15   it would be in the interests of judicial economy to suspend the Motion pending completion of the
16   steps contemplated by this Stipulation.
17          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the
18   Parties hereto, through their respective counsel of record, that, subject to the Court’s approval:
19      1. Plaintiffs’ counsel shall amend the current complaints in Chavez v. FCA US LLC, No. 3:16-
20          CV-6909-EMC (N.D. Cal.), In re Mercedes-Benz Emissions Litigation, No. 2:16-cv-881-
21          JLL-JAD (D.N.J.), and Carpenter v. FCA US LLC, No. 5:17-cv-288-EMC (N.D. Cal.),
22          consistently with paragraph 3 of this Stipulation.
23      2. If written consent or Court approval is necessary for plaintiffs’ counsel to amend their current
24          complaints in the Chavez, Mercedes-Benz, and Carpenter actions, any Bosch Defendant that
25          has been served in such action (a) shall provide written consent to allow amendment of the
26          complaint under Fed. R. Civ. P. 15(a)(2), and (b) if such written consent is withheld by non-
27          Bosch defendants in any such actions, then shall state in writing that it has no objection to a
28
     STIPULATION AND [PROPOSED] ORDER REGARDING MOTION OF DEFENDANTS ROBERT BOSCH GMBH
                  AND ROBERT BOSCH LLC FOR RELIEF UNDER PRETRIAL ORDER NO. 12
                                  MDL DOCKET NO. 2672 CRB (JSC)
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 1        motion filed by plaintiffs’ counsel for leave to amend the current complaint in the respective
 2        action.
 3     3. In any amended complaints plaintiffs’ counsel file in the Chavez, In re Mercedes-Benz, and
 4        Carpenter actions, plaintiffs’ counsel and all those acting in concert with them shall excise
 5        all references to documents that were produced as Confidential or Highly Confidential under
 6        the Protective Order and remain subject to the Protective Order’s prohibition against use
 7        outside of the MDL, and shall also excise all factual allegations derived therefrom, including
 8        all citations to, quotations from, reliance upon, or characterization of such documents and
 9        any other information from this MDL that remain subject to the Protective Order’s
10        prohibition against use outside of the MDL.
11     4. Further proceedings on the Motion, including further briefing and hearing, shall be
12        suspended pending completion of the steps contemplated by paragraphs 1-3 of this
13        Stipulation.
14     5. Following implementation of the steps contemplated by this Stipulation, the Parties shall file
15        a further stipulation apprising the Court that the Motion has become moot. If within 30 days
16        of this Stipulation the Parties are unable to reach agreement that the Motion has become
17        moot, either party may seek further relief from the Court, whether in the form of relief under
18        the Motion or the Protective Order, dismissal of the Motion as moot, or otherwise.
19     6. If the Motion is dismissed as moot, (a) the Parties shall bear their own costs of the Motion
20        and compliance with the Stipulation, and (b) such dismissal shall be without prejudice to the
21        right of the Bosch Defendants to seek in the future to enforce the terms of the Protective
22        Order.
23     7. Capitalized terms not otherwise defined in this Stipulation shall have the meanings given in
24        the Motion.
25     8. This Stipulation is not and shall not be construed as an admission of wrongdoing by any
26        party, nor as a waiver of any of the above-named Parties’ jurisdictional, substantive, or
27        procedural rights and remedies in connection with the above-captioned proceedings, all of
28         which are hereby expressly reserved.  2
     STIPULATION AND [PROPOSED] ORDER REGARDING MOTION OF DEFENDANTS ROBERT BOSCH GMBH
                  AND ROBERT BOSCH LLC FOR RELIEF UNDER PRETRIAL ORDER NO. 12
                                     MDL DOCKET NO. 2672 CRB (JSC)
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 1         IT IS SO STIPULATED.
 2   Dated: February 21, 2017
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                                         Counsel for Defendants
12                                       Robert Bosch GmbH
                                         Robert Bosch LLC
13

14                                 HAGENS BERMAN SOBOL SHAPIRO LLP
                                    By: /s/ Steve W. Berman (with permission)
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                                         Counsel for Plaintiffs
20                                       Napleton Orlando Imports, LLC
21                                       Napleton Sanford Imports, LLC
                                         Napleton Automotive of Urbana, LLC
22                                       J. Bertolet, Inc.
23                                       *       *      *
24   PURSUANT TO STIPULATION, IT IS SO ORDERED.
25

26   Dated: February
             _____________,
                     22     2017                     __________________________________
27                                                   Honorable Charles R. Breyer
                                                     UNITED STATES DISTRICT JUDGE
28                                               3
     STIPULATION AND [PROPOSED] ORDER REGARDING MOTION OF DEFENDANTS ROBERT BOSCH GMBH
                  AND ROBERT BOSCH LLC FOR RELIEF UNDER PRETRIAL ORDER NO. 12
                                  MDL DOCKET NO. 2672 CRB (JSC)
